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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

  IN RE                                           §     CHAPTER 7
                                                  §
  LEGENDARY FIELD EXHIBITIONS,                    §     CASE NO. 19-50900-CAG
  LLC.                                            §
                                                  §
  AAF PLAYERS, LLC;                               §     CASE NO. 19-50902-CAG
                                                  §
  AAF PROPERTIES, LLC;                            §     CASE NO. 19-50903-CAG
                                                  §
  EBERSOL SPORTS MEDIA GROUP,                     §     CASE NO. 19-50904-CAG
  INC.;                                           §
                                                  §
  LFE 2, LLC;                                     §     CASE NO. 19-50905-CAG
                                                  §
  WE ARE REALTIME, LLC                            §     CASE NO. 19-50906-CAG
                                                  §
      DEBTORS                                     §
                                                        (SUBSTANTIVE CONSOLIDATION
                                                        OF ALL 6 CASES, INTO ONE CASE,
                                                        LEGENDARY FIELD EXHIBITIONS,
                                                        LLC, CASE NO. 19-50900-CAG)
                                                        JOINTLY ADMINISTERED UNDER
                                                        CASE NO. 19-50900-CAG)

     TRUSTEE’S APPLICATION TO COMPROMISE AND SETTLE PURSUANT TO
             FEDERAL RULE OF BANKRUPTCY PROCEDURE 9019

          THIS PLEADING REQUESTS RELIEF THAT MAY BE ADVERSE TO
          YOUR INTERESTS. IF NO TIMELY RESPONSE IS FILED WITHIN
          TWENTY-ONE (21) DAYS FROM THE DATE OF SERVICE, THE RELIEF
          REQUESTED HEREIN MAY BE GRANTED WITHOUT A HEARING
          BEING HELD. A TIMELY FILED RESPONSE IS NECESSARY FOR A
          HEARING TO BE HELD.

  TO THE HONORABLE H. CRAIG A. GARGOTTA, U. S. BANKRUPTCY JUDGE:

          Randolph N. Osherow, Trustee, the duly appointed chapter 7 trustee in the above-

  referenced substantively consolidated cases (“Trustee”) files this Application to Compromise and

  Settle Pursuant to Federal Rule of Bankruptcy Procedure 9019 (the “Application”) and respectfully




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  shows:

                                             I.
                                  JURISDICTION AND VENUE

           1.    This Court has jurisdiction to consider this objection pursuant to 28 U.S.C. §§ 157

  and 1334. This is a core proceeding pursuant to 28 U.S.C. §§ 157(b).

           2.    Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                       II.
                       SUMMARY OF THE CASE AND SETTLEMENT

           3.    Six entities operating as the Alliance of American Football (“AAF”) suspended

  football operations on April 2, 2019 and filed their Chapter 7 cases two weeks later on April 17,

  2019. During that interstice, former AAF players Colton Schmidt and Reggie Northrup

  (“Schmidt” and “Northrup”) filed suit in California state court against the now-defunct AAF

  league, its founder Charles Ebersol, and its controlling director Thomas Dundon, seeking more

  than $600 million in actual and exemplary damages for themselves and a putative plaintiff class

  of more than 400 former AAF players. That case was removed, transferred, and ultimately referred

  to this Court where it pends as Adversary Proceeding No. 19-05053 (the “Adversary”).

           4.    Schmidt and Northrup alleged that the Debtors breached their three-year player

  contracts1 and that the Debtors, Ebersol, and Dundon engaged in misrepresentations resulting in

  financial harm to them. They sought to certify a class of allegedly similarly situated former AAF

  players who, like them, signed the AAF’s Standard Player Agreement. See Adversary Dkt. No. 87

  (Second Amended Complaint).

           5.    Schmidt and Northrup (“Claimants” in this context) filed a putative class proof of

  claim No. 214 (the “Putative Class Claim”). The Trustee objected on various merits and

  1
   Schmidt and Northrup each signed and entered into a “Standard Player Agreement” with AAF Players,
  LLC (the “Standard Player Agreement”).


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  procedural grounds [Dkt. No. 270] (the “Claim Objection”). The Court consolidated the Claim

  Objection with the Adversary. See Dkt. No. 276. During the bifurcated class discovery phase, it

  became clear that the Claimants and most or all other putative class members received only eight

  of the ten salary installments called for in year-one of their player agreements. Deposition

  discovery also indicated that plaintiffs were in contact with other former players who may have

  believed that they were not required to file a proof of claim considering the pending Putative Class

  Claim and Adversary. Discovery further demonstrated to the Trustee that the Debtors’ estates

  would need to argue certain claims being asserted against Adversary defendants Dundon and

  Ebersol are estate claims.

          6.      Although the bifurcated Phase 1 discovery dealt primarily with class issues, enough

  became clear about the merits for the Trustee to formulate a settlement with the named and putative

  class plaintiffs of their claims against the Debtors’ estate and to avoid continued expense to the

  estate of extended litigation over the Putative Class Claim. This Application describes and seeks

  approval of a negotiated settlement that resolves the Claim Objection and all claims in the

  Adversary against the Debtors and Defendant Ebersol on the terms described in the Application.

  It does not resolve claims in the Adversary against Thomas Dundon.2

                                              III.
                                  PARTIES TO THE SETTLEMENT

           7. The Parties to the Settlement are:

               a. Randolph N. Osherow, Chapter 7 Trustee of the substantively consolidated

                  bankruptcy estates of the Debtors Legendary Field Exhibitions, LLC, AAF Players,

                  LLC, AAF Properties, LLC, Ebersol Sports Media Group, Inc., LFE2, LLC, and


  2
   For the avoidance of doubt, the agreement further does not resolve claims against Dundon Capital Partners.
  Dundon Capital Partners is not a party to the pending Adversary.



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                 We are Realtime, LLC (collectively called the “Debtors” and “Bankruptcy

                 Cases”).3

              b. Colton Schmidt, Plaintiff and creditor, individually and on behalf of a creditor class

                 comprising all players who executed a Standard Player Agreement and who were

                 on an active roster of an AAF team on April 2, 2019, including players, if any, on

                 injured reserve (the “Player Settlement Class”).4

              c. Reggie Northrup, Plaintiff, individually and on behalf of the Player Settlement

                 Class.

              d. Those members of the Player Settlement Class who do not opt out after notice

                 pursuant to Federal Rule of Bankruptcy Procedure5 7023, as made applicable

                 pursuant to Bankruptcy Rule 9014 and incorporating Federal Rule of Civil

                 Procedure 23.

              e. Charles Ebersol, the AAF’s founder and one-time chief executive of Ebersol Sports

                 Media Group, Inc. a debtor.

                                             IV.
                                       BACKGROUND FACTS

         8.      Ebersol Sports Media Group, Inc. and several of its subsidiaries conducted

  combined operations under the trade name Alliance of American Football (“AAF”). The AAF



  3
    In re Legendary Field Exhibitions, LLC, Case No. 19-50900; In re AAF Players, LLC, Case no. 19-50902;
  In re AAF Properties, LLC, Case No. 19-50903; In re Ebersol Sports Media Group, Inc., Case No. 19-
  50904; In re LFE2, LLC, Case No. 19-50905; In re We are Realtime, LLC, Case No. 19-50906. These cases
  are collectively called the ‘Bankruptcy Cases.”
  4
    To avoid any doubt, the Player Settlement Class as defined is intended to encompass those players who
  by virtue of their continuation on an active team roster would have become entitled to receive ten
  installments to pay their $70,000 2019 season salary (wages) but only received eight as a result of the
  Bankruptcy Cases and deemed rejection of the Standard Player Agreements, in addition to their base
  salaries in the 2020 league year and 2021 league year.
  5
    For convenience called “Bankruptcy Rules” and cited as “Bankr. Rule(s).”


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  operated as a professional sports football league with teams located in eight cities throughout the

  United States.

         9.        The AAF hired professional staff and coaches with significant NFL experience. Its

  founders conceived the league as one that would operate professional football games interseason

  beginning the week after the Super Bowl and continuing through the week of the NFL draft.

         10.       To complement its football product, AAF planned to develop an interactive fan

  experience through an “app” that would allow fans access to real time streaming and game

  generated data, player statistics, and other metrics. The app-based interactive product component

  AAF conceived depended on offering and aggressively promoting a quality football product

  capable of attracting and keeping fans. AAF also believed and intended that the app could

  eventually complement sports gambling.

         11.       Ebersol Sports Media Group, LLC (“ESMG”) directly or indirectly owned 100%

  of the interest in each of the other Debtors and through that structure owned each of the AAF’s

  eight teams.

         12.       Although the AAF arranged more than $200 million in financing through stock

  sales, convertible debt, and a convertible credit line in 2018, by late 2018 sporadic funding by the

  line of credit investor became problematic for the AAF, and the league sought new funding

  sources.

         13.       In early February 2019, Thomas Dundon, a Texas billionaire and majority owner

  of an NHL hockey franchise, committed additional funding to the league and in exchange took full

  control of ESMG’s board of directors and AAF’s business decisions.

         14.       With two weeks remaining in the AAF’s season, Dundon, solely and personally,




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  caused ESMG and its subsidiaries to suspend football operations on April 2, 2019.6

          15.     When AAF suspended football operations, Colton Schmidt and Reggie Northrup

  retained counsel, Abir, Cohen, Treyzon & Salo, LLP, a firm experienced in class action and

  employment litigation.7

          16.     On April 10, 2019, Schmidt and Northrup filed a putative class action complaint in

  the San Francisco California Superior Court under Case No. CGC-19-575169.8

          17.     On April 17, 2019, Dundon, solely and personally, caused ESMG and five

  subsidiaries (collectively, the “Debtors”) to file their petitions for voluntary relief under

  Bankruptcy Code Chapter 7 (collectively, the “Bankruptcy Cases”).

          18.     Randolph N. Osherow was appointed as Chapter 7 Trustee in each Bankruptcy Case

  and continues to serve in that capacity.

          19.     The Court substantively consolidated the Bankruptcy Cases into In re Legendary

  Field Exhibitions, Case No. 19-50900, and the substantively consolidated cases are being

  administered in 19-50900. [Docket No. 150].9

          20.     Schmidt and Northrup’s California state court lawsuit was removed, transferred,


  6
    Plaintiffs have alleged that Dundon’s decision to suspend football operations and related conduct caused
  injuries to themselves and to putative class members.
  7
    Plaintiffs also retained experienced bankruptcy counsel, Katharine Battaia Clark, now with Thompson
  Coburn LLP. Further, the Trustee is informed that over 100 putative class members have retained Class
  Counsel individually for their claims arising from the non-defunct league.
  8
    Colton Schmidt, individually and on behalf of others similarly situated, Reggie Northrup, individually and
  on behalf of others similarly situated vs. AAF Players, LLC, A Delaware Limited Liability Company, d/b/a
  The Alliance of American Football., Thomas Dundon, an individual; Charles Ebersol, an individual,
  Legendary Field Exhbitions, LLC, a Delaware Limited Liability Company, AAF Properties, LLC, a
  Delaware Limited Liability Company, Eberson Sports Media Group, Inc. a Delaware Corporation, and
  Does 1-200, inclusive, Case No. CGC-19-575169, In the Superior Court, San Francisco County, CA,
  Unlimited Jurisdiction.
  9
    All references to “Docket No.” entries refer to the Court’s Pacer docket in lead case No. 19-50900 unless
  otherwise indicated.




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  and referred to this Court where it currently pends as the Adversary.

          21.     The Trustee did not take any action to assume the Standard Player Agreement of

  any player before June 16, 2019, and such agreements were rejected and deemed breached at that

  time under 11 U.S.C. § 365(d)(1).10 The Claimants and putative class members are regarded as

  pre-petition creditors, at least as to breach of contract claims under the Standard Player

  Agreement.11

          22.     On July 15, 2019, before the August 15, 2019 claims bar date, Schmidt and

  Northrup filed the Putative Class Claim (proof of claim No. 214), seeking for themselves and for

  a putative class of AAF players more than $673 million in actual and exemplary damages based

  on various contractual, quasi-contractual, and common law and statutory tort theories.

          23.     The Putative Class Claim addendum primarily focuses on the claims for alleged

  breach of the AAF’s Standard Player Agreement,12 which Schmidt and Northrup allege is the same

  for each AAF player. Their tort, quasi-contractual, and equitable claims are described in their

  original California state court class action complaint, attached and incorporated into the Putative

  Class Claim.


  10
     This is the date sixty days after the Bankruptcy Cases commenced. Commencement of a voluntary case
  under Chapter 7 constitutes an order for relief. 11 U.S.C. § 301(d). Rejection constitutes a breach of an
  executory contract. 11 U.S.C. § 365(g); Mission Product Holdings, Inc. v. Tempnology, LLC, 139 S.Ct.
  1652, 1666 (2019). The Settling Parties disagree as to the timing of when Putative Class Members contracts
  were breached as a matter of law.
  11
     See 11 U.S.C. § 365(g)(1).
  12
     In addition to the “Standard Player Agreement,” Schmidt and Northrup also each entered into an
  “Authorized Alternative League Release” with AAF Players, LLC (the “Alternative League Release”)
  and a Standard Commercial License Agreement with Alliance Properties, LLC (a/k/a AAF Properties, LLC
  and herein called “AAF Properties”) (the “Commercial License”). The Commercial License provided a
  mechanism for players to share fractionally in certain revenues AAF received attributable to the use of their
  likenesses. The Alternative League Release provided a mechanism for players that might obtain an NFL
  offer to be released from the Standard Player Agreement. Schmidt and Northrup contend that all members
  of their putative class of former players also entered into identical Alternative League Release and
  Commercial License agreements.



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          24.     The Putative Class Claim asserts that the breach of contract claims alleged are wage

  claims entitled to priority under Bankruptcy Code § 507(a)(4).13

          25.     The Standard Player Agreement provides that a player would receive a “base

  compensation” rate in each of three distinct contract years payable in ten installments during the

  corresponding season.

          26.     The Standard Player Agreement further provides:

          (a). . . If the SPA is terminated after the beginning of the regular season, Base
          Compensation payable to Player will be reduced proportionately and Player will be paid
          the portions of his Base Compensation having become due and payable up to the time of
          termination.

          27.     This scope and effect of this language is a subject of material dispute. Schmidt and

  Northrup contend based upon other contract language, for themselves and on behalf of the putative

  class, that this limitation cannot reduce their contractual rights (or rights of putative class members)

  to compensation because the suspension of league operations and the Bankruptcy Cases did not

  effect either a “skills termination” or a “morality termination” as defined in the Standard Player

  Agreements. They also contend, for themselves and on behalf of the putative class, that filing the

  Bankruptcy Cases could not by itself terminate their Standard Player Agreements. 14 They further

  contend that the putative class member’s Standard Player Agreements were breached at the time

  the league missed the first two payments due upon their signed contracts, and/or were breached or

  repudiated when the AAF terminated operations on April 2, 2019.

          28.     After a full hearing, the Court determined that filing the Putative Class Claim


  13
     The computed amount Schmidt and Northrup contend is entitled to priority under the Bankruptcy Code
  totals $5,678,400.00. They computed this amount by multiplying the current § 507(a)(4) wage cap by the
  number of former players comprising the putative class members.
  14
     The U.S. Supreme Court in Mission Product Holdings, Inc. v. Tempnology, LLC, 139 S. Ct. 1652, 1666
  (2019) resolved that an executory contract is breached, but not terminated, by rejection in bankruptcy.




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  seeking a distribution from the estate waived any right to a jury trial. Plaintiffs sought leave to

  appeal the bankruptcy court’s order on an interim basis under Case No. 5:20-cv-00104-OLG 1 in

  the district court for the Western District of Texas, which request was denied. See Dkt. No. 5 in

  Case No. 5:20-cv-00104-OLG l.

          29.     The Trustee filed his Claim Objection initiating a Rule 9014 contested matter and

  raising substantive objections to Schmidt’s and Northrup’s individual claims and asserting that no

  class should be certified for litigation or claims purposes.

          30.     On motion by Schmidt and Northrup, the Court consolidated the Adversary, the

  Putative Class Claim, and the Trustee’s Claim Objection for discovery and hearing.

          31.     The parties engaged in written discovery, including document production. The

  Trustee collected, reviewed, and produced nearly 25,000 pages of documents, including the

  Standard Player Agreement, Standard Commercial License, and Alternative League Release for

  each player signed to an AAF contract. The Trustee also recovered and produced during class

  discovery identifying and contact information for putative class members.15

          32.     In addition, the Trustee’s counsel engaged in an exhaustive review of the contracts

  and interviewed various AAF executives to understand the AAF’s contracting practices. The

  Trustee’s counsel also interviewed the attorney responsible for drafting the Standard Player

  Agreement.

          33.     That work revealed that, although some “marquis” players negotiated and entered

  into additional and supplemental agreements regarding licensing and bonuses to enhance their



  15
    In early 2020, the Trustee’s counsel engaged in laborious work and interactions with a PEO provider to
  obtain and verify player mailing information to support the mailing of W-2 information to players. That
  work frequently revealed confirmed player mailing addresses different from the addresses on the company’s
  records used to generate bankruptcy schedules. Most former players did not file an individual proof of claim
  before the July 5, 2019 claims bar date.


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 ultimate potential compensation, the Standard Player Agreement remained the same for each

 player in the Class, including base compensation. Each player, regardless of their “marquis” status,

 signed the same Standard Player Agreement. Each player owed AAF the same significant, material

 conditions, covenants, and obligations under the terms of the Standard Player Agreement. Debtors

 owed each member of the putative class the same significant, material, conditions, covenants, and

 obligations under the terms of the Standard Player Agreement including the same base

 compensation structure.

         34.     The Trustee’s work also revealed that players who were on an AAF team roster at

 the beginning of AAF’s season on February 9, 2019 and who remained on that active roster up to

 and through April 2, 2019 (when the AAF suspended games) received eight periodic checks rather

 than the ten set forth under the Standard Player Contract as the base compensation for the first

 contract year.16 The identity of these players is determinable from the records the Trustee was able

 to recover from third party custodians.

         35.     Players who were on an active roster at the beginning of a season but were cut from

 a team (i.e., had their employment terminated) before April 2, 2019 appear to have received

 compensation for the time they were active as provided in the Standard Player Agreement.

         36.     Schmidt, Northrup, and Dundon gave deposition testimony in the class certification

 discovery phase of the Adversary. That testimony revealed that Schmidt and Northrup are engaged

 and knowledgeable about their own claims and to an extent expressed personal knowledge about

 the potential contract and other claims of the putative class members.

         37.     The Trustee asserts the deposition testimony also revealed that while some claims



 16
   The Trustee urged in his Claim Objection that all payments for the first year base compensation were
 paid prepetition based on information then available; that contention appears to have been in error after a
 full investigation.


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 and contentions asserted against Dundon and Ebersol appear to be personal and subject to proof,

 other claims urge theories espousing derivative estate claims. The Plaintiffs deny this assertion.

          38.    The Trustee extensively interviewed Charles Ebersol, who cooperated fully and

 candidly with the Trustee in developing a fuller understanding of the league operations.

          39.    The Trustee has collected and sold the estate’s physical property. Remaining

 property of the estate includes causes of action against third parties that the Trustee has and that

 the Trustee may assert.

          40.    The current estate funds will not likely result in a meaningful distribution to the

 estate’s general creditors, even if the Trustee prevails on several claim objections remaining to be

 filed.

          41.    The Putative Class Claim and related Claim Objection implicate bona fide

 procedural and factual disputes, the resolution and trial of which, absent settlement, would almost

 certainly deplete available estate funds and make it impossible for the Debtors’ estate to bring

 additional claims it may have.

          42.    The Claimants are willing to compromise and settle disputes with the Trustee, for

 themselves and on behalf of the Player Settlement Class, in connection with the Putative Class

 Claim and the Adversary on the terms set forth in this Application.

          43.    The Trustee has considered the totality of the circumstances of the Debtors’ estate

 and the Bankruptcy Cases and concluded in his business judgment that entering into a settlement

 on the terms set forth in this Application is in the best interests of the estate.

          44.    The Trustee and the Claimants have agreed to contemporaneously seek to

 conditionally certify a settlement class of certain former players and to approve the settlement of




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 their claims only against the Debtors and Ebersol, as described in this Application.17

                                               V.
                                    BASIC SETTLEMENT TERMS

         45.      The Trustee and the Claimants, through their respective counsel, worked in good

 faith to craft an accommodation to fairly resolve their disputes regarding the Putative Class Claim

 and the Adversary as it relates to the Debtors (and Ebersol), both mindful of the prodigious cost

 of litigating in general and on a class action basis.

         46.      Based on the Trustee’s extensive investigation through counsel and good faith

 negotiation with the Claimants and Ebersol, these parties reached a compromise on the following

 basic terms to be memorialized in a written settlement agreement18:

               a. The Trustee and the Claimants agree to request that the Court apply its discretion
                  under Bankruptcy Rule 9014 to invoke Bankruptcy Rule 7023 to certify the Player
                  Settlement Class19 defined as:

                          All players who signed a “Standard Player Agreement” with AAF Players,
                          LLC and who were on an active AAF team roster as of April 2, 2019,
                          including players, if any, on injured reserve. Specifically excluded from the
                          Class are: (i) any person who filed a proof of claim in the Main Bankruptcy
                          Case, except for the Putative Class Claim, on or before August 15, 2019; (ii)
                          any Class Member who timely opted-out of the Class; (iii) Defendants and
                          officers and directors of Defendants, (iv) any entity in which any Defendant

 17
    The parties also are aware of the uncertain interplay between the bankruptcy claims process and the class
 action process made automatically applicable in adversary proceedings. See Ameneh Bordi, Defendant
 Class Actions in Bankruptcy: A Practice Guide, 71 N.Y.U. Ann. Surv. Am. L. 481, 486 (2016) (explaining
 developing views over utility of utilizing plaintiffs’ classes in bankruptcy cases because both devices are
 self-aggregating).
 18
    This summary of the Settlement Agreement is for descriptive purposes only and is not, and is not intended
 to be, a complete recitation of the material terms of the Settlement Agreement. This summary of the
 Settlement Agreement is qualified in its entirety by the terms and provisions of the Settlement Agreement.
 To the extent that there are any inconsistencies between the description of the Settlement Agreement
 contained herein and the terms and provisions of the Settlement Agreement, the Settlement Agreement shall
 control.
 19
    The Trustee has objected that a litigation class cannot be certified for reasons described in his Claim
 Objection, but does not believe that those reasons prevent the certification of a settlement class and a related
 class claim for settlement purposes. A settlement class by its nature supposes that there will not be merits
 litigation; accordingly, the same Rule 23(b) questions do not arise in the settlement class context.



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                          has a controlling interest; (v) the affiliates, legal representatives, attorneys,
                          heirs, or assigns of any Defendant; (vi) any federal, state or local
                          governmental entity; and (vii) any judge, justice, or judicial officers
                          presiding over the Adversary and the members of their immediate families
                          and judicial staff. 20

             b. ABIR, COHEN, TREYZON AND SALO, LLP (“ACTS”) and THOMPSON COBURN LLP
                will be appointed as class counsel for the Player Settlement Class (“Class
                Counsel”).21

             c. Colton Schmidt and Reggie Northrup will be appointed as class representatives for
                the Player Settlement Class.

             d. The Putative Class Claim shall be allowed in the total amount of the Priority SPA
                Damages, plus the total amount of Excess SPA Damages (collectively, the “SPA
                Damages”), which total amounts shall be determined and distributed as follows:

                      i. Each member of the Player Settlement Class (i) who does not opt out and
                         (ii) who timely completes and returns the claim form including all
                         information required pursuant to the order approving settlement (and as
                         further detailed in the class notice) will receive:

                              1.    an allowed claim for $13,650.0022 (the “Priority SPA Damages”)
                                   entitled to priority under Bankruptcy Code section 507(a)(4) to be
                                   treated and disbursed pursuant to the Trustee’s ordinary practices;
                                   and

                              2. a general unsecured claim for $180,000.00 (representing the second
                                 and third year base compensation under the Standard Player
                                 Agreement) (the “Excess SPA Damages”); provided, however, that
                                 the Excess SPA Damages portion of the claim will be subordinated
                                 to other general unsecured claims (not including the Putative Class

 20
    For avoidance of doubt, this class definition does not include players who signed a Standard Player
 Agreement but were not selected to play on an AAF team and does not include players who were selected
 to a team but who were terminated or cut or exercised their option under the Alternative League Release
 agreement before April 2, 2019. This definition is intended to encompass all players whose contracts were
 rejected pursuant to the Bankruptcy Code except as otherwise provided. The parties disagree on the legal
 merits of such rejection and the effective timing of any breach, but this disagreement is not material to this
 Application.
 21
    Specifically, the proposed class counsel are Boris Treyzon (lead counsel) and Jonathan Farahi of the
 ACTS firm and Katharine Battaia Clark, Nicole Williams, and John Atkins of Thompson Coburn LLP,
 experienced bankruptcy and class action counsel.
 22
    The current cap on prepetition wage claims entitled to priority under 507(a)(4) is $13,650.00. The cap
 amount approximates, but is slightly less than, the $14,000.00 aggregate sum of two installments not paid
 to players in the Player Settlement Class as Base Compensation for play in the first contract year under the
 Standard Player Agreement.


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                            Claim) filed before August 15, 2019 and any later filed claim
                            approved and allowed by Court order, to the extent and in the
                            amount such other claims are allowed claims and are not withdrawn.

                ii. Notwithstanding the foregoing, Colton Schmidt and Reggie Northrup each
                    will be allowed an additional general unsecured claim in the amount of
                    $135,000 that is not subordinate to, but will receive pro rata distribution, if
                    any, at the same time and with the same rank as other general unsecured
                    claims. This is in recognition of the timely filing of their claims, and that
                    the Lead Plaintiffs acted for and on behalf of the Player Settlement Class on
                    their own time at their own expense.

                iii. Each Player Settlement Class member who does not opt out shall be
                     required to complete and file on the claims register or return to Class
                     Counsel for prompt filing on the claims register a claim form on or before
                     60 days after the approved Class Settlement Notice is transmitted. In the
                     event that a mailed Class Notice is returned as undeliverable, Class Counsel
                     shall re-mail the Class Notice to the corrected address, if any, of the
                     intended Class Member recipient as may be determined by Class Counsel
                     through a search of a national database or as may otherwise be obtained by
                     the Parties. In the event a Class Notice is undeliverable on the first attempt,
                     the Class Member shall be provided additional time to file a proof of claim.

                iv. The claim form will:

                                  a. Utilize a modified Bankruptcy Form 410, which form shall
                                     be (1) prefilled with each claimant’s name, (2) total claim
                                     amount, (3) priority claim amount expressly stated, (4) be
                                     supplemented to include an express acknowledgement
                                     regarding (x) taxes and withholding, (y) attorney fees
                                     awarded to Class Counsel, and (z) the assignment of
                                     certain rights.

                                  b. Confirm no Player Settlement Class member will be
                                     required to attach his individual Standard Player
                                     Agreement to the claim form.

                                  c. Be accompanied by instructions regarding filling out and
                                     returning the claim form, along with the impact of failing
                                     to do so on claim treatment.

                        2. Each player’s proof of claim must authorize the Trustee in
                           distributing funds to also withhold from each Player Settlement
                           Class member’s distribution a percentage, which will not exceed
                           33% of the priority claim distribution amount, payable to be applied
                           to the fees of Class Counsel as the Court on motion may approve.



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                 v. Player Settlement Class members who do not timely submit the claim form
                    will not be entitled to a distribution of any amount as SPA Priority
                    Damages, and such amount will treated as Excess SPA Damages as
                    provided above.

          e. For the avoidance of doubt, any amount distributed to a Player Settlement Class
             member will be subject to payroll taxes and withholding by the Trustee according
             to applicable law and to the same extent.

          f. Player Settlement Class members who do not opt out, and regardless of whether
             they submit a timely claim form, will, in consideration of the settlement, assign,
             bargain, sell, and transfer, and by the Court’s judgment be deemed to have assigned,
             bargained, sold, and transferred to the Trustee for the benefit of the Debtors’ estate
             the “Settlement Class Assigned Claims.” The Settlement Class Assigned Claims
             include:

                  i. Any and all claims, rights, choses in action, and causes of action seeking
                     recovery of damages specifically issuing from the failure of the AAF to pay
                     amounts under the Standard Player Agreements against Dundon and any
                     unnamed “Doe” defendant based on any theory of recovery, including
                     without limitation any claims sounding in misrepresentation, fraud,
                     contract, or equity;

                 ii. Any and all claims, rights, choses in action, and causes of action based on
                     any theory of recovery against any Debtor or against Ebersol.

             Each Player Settlement Class member by virtue of the settlement assigns any claim
             the class member has against Dundon for failure of Dundon to fund, or to cause
             Dundon Capital Partners, LLC to fund the AAF based on promises to Ebersol and
             the Debtors, or that Dundon or any other person breached fiduciary duties owed to
             any of the Debtors. However, the Player Settlement Class members retain all claims
             against Dundon, even those for which Dundon’s failure to fund (or failure to cause
             Dundon Capital Partners, LLC to fund) the AAF is a causal element, to the extent
             those claims are premised on damages for personal injury, mental anguish, or
             foregone economic opportunities due to being induced to play for or continue to
             play for the AAF, and not merely the inability of the AAF to pay promised wages
             or benefits.

          g. For avoidance of doubt, any claims, rights, choses in action and causes of action of
             any individual Player Settlement Class member that are not Settlement Class
             Assigned Claims or that seek damages in excess of the total SPA Damages, are not
             assigned and transferred by this settlement to the Trustee and will remain property
             of Player Settlement Class members.

          h. The Trustee and the Claimants will file in the Adversary an appropriate motion to



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                 certify the Player Settlement Class defined in this Application and to approve the
                 settlement for class purposes for which approval is sought in this Motion, including
                 approval of an appropriate class notice that explains (i) the salient terms of the
                 settlement, (ii) class members’ obligation and deadline to return notice of any
                 election to opt-out, (iii) class members’ obligation to fully complete and timely
                 return the claim form in order to receive any distribution as SPA Priority Damages,
                 (iv) the contact information for the appointed class counsel, and (v) all deadlines
                 by which class members must act. Such notice will provide for personal notice by
                 mail and email where possible to Player Settlement Class members. Class Counsel
                 will handle the notice and ancillary document process for which work Class
                 Counsel shall be allowed an administrative claim in the amount of $8,000.

              i. Settlement Class Counsel will together submit an application for approval of
                 attorneys’ fees to be paid out of estate distributions to Player Settlement Class
                 members, which will be agreed by the Trustee; provided, however, that attorneys’
                 fees earned and paid on account of and out of SPA Priority Damages distributions
                 shall not exceed 33% of any such distribution to a Player Settlement Class member.

              j. Ebersol agrees to provide to the Trustee all information known to him relevant to
                 any claims the Trustee may have or bring against third parties and to cooperate and
                 make himself reasonably available to the Trustee and the Trustee’s representatives
                 in connection with the Trustee’s administration of the Debtors’ bankruptcy estate.
                 In exchange, the Trustee will covenant and agree that while any Bankruptcy Case
                 is open, the Trustee will not directly or indirectly commence any action against
                 Ebersol on account of any of the Settlement Class Assigned Claims or any other
                 claims against Ebersol arising out of his involvement as a director, manager, or
                 employee, as the case may be, with any Debtor. At such time as the last Bankruptcy
                 Case is closed, provided Ebersol is not in default, the Trustee will release Ebersol
                 of and from any such claims or suits.

              k. The parties will memorialize these terms together with other customary provisions
                 in matters of this type in a comprehensive settlement agreement to be presented to
                 the Court at or before the hearing on this Application.

              l. In the event the settlement reached and described in this Application is not approved
                 by the Court or the settlement does not become final, then the parties will be
                 returned to their respective statuses, rights, privileges, and claims existing
                 immediately before this Application was filed as if the settlement had never existed.

                                            VI.
                                     GROUNDS FOR RELIEF

        47.      Bankruptcy Rule 9019(a) provides in relevant part that “on motion by a trustee and

 after notice and a hearing the court may approve a compromise or settlement.” Settlements and




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 compromises are a normal part of the process of reorganization and should be approved where

 consistent with the Bankruptcy Code’s priority scheme and reasonable in relation to the likely

 rewards of litigation. Protective Comm. Four Indep. Stockholders of TMT Trailer Ferry, Inc. v.

 Anderson, 390 U.S. 414, 428 (1968) (quoting Case v. The Los Angeles Lumber Prod. Co., 308

 U.S. 106, 130 (1939)).

        48.     The decision whether to approve a particular settlement lies within the Bankruptcy

 Court’s discretion. American Can Co. v. Herpel (In re: Jackson Brewing Co.), 624 F.2d 605, 607

 (5th Cir. 1980). A reviewing court will uphold the approval of a settlement if it is the result of

 adequate and intelligent consideration of the merits of the claims, the difficulties of pursuing them,

 the potential harm to the debtor’s estate caused by the delay, and the fairness of the terms of the

 settlement. TMT Trailer Ferry, Inc., 390 U.S. at 434.

        49.     Courts in the Fifth Circuit look to four factors in this analysis:

        i.      the probability of success in the litigation, with due consideration for the

 uncertainty in fact and law;

        ii.     the complexity and likely duration of the litigation and any intended expenses,

 inconvenience, and delay; and

        iii.    the difficulties in collecting a judgment rendered from the litigation; and

        iv.     all other facts bearing on the wisdom of the compromise.

 In re Jackson Brewing Co., 624 F.2d at 607-08.

        50.     The Trustee believes that the proposed settlement is in the best interest of the

 Debtors’ Chapter 7 estate because it results in a fair and equitable compromise after consideration

 of the aforementioned factors. Further, it resolves a legal dispute that would be both lengthy and

 costly, likely consuming the majority of limited estate assets on attorneys’ fees and costs, without




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 benefit to any creditors.

 A.     Probability of Success in the Litigation

        51.     Effectively aligned as a “defendant” in both the Adversary and the Claim Objection,

 the Trustee’s probability of success depends primarily on whether any class or subclass of

 plaintiffs can be certified for litigation purposes and on the merits of the underlying contract, tort,

 and equity claims.

        (1)     Class Certification Matters

        52.     Bankruptcy Rule 7023 indisputably applies in the Adversary. Fed. R. Bankr. P.

 7023 (“Rule 23 F.R.Civ.P. 23 applies in adversary proceedings”). Current federal jurisprudence

 embraces two countervailing views concerning application of Rule 7023 to proofs of claim.

 Compare In re FIRSTPLUS Financial, Inc., 248 B.R. 60, 70-72 (N.D. Tex. 2000) and In re Craft,

 321 B.R. 189, 192 (Bankr. N.D. Tex. 2005) (applying agency law principles to conclude that

 putative representatives are not agents where a class is not certified prepetition) with In re

 American Reserve Corp., 840 F.2d 487 (7th Cir. 1988), Gentry v. Siegel, 668 F.3d 83, 88–89 (4th

 Cir. 2012) (adopting that view that a because a proof of claim objection initiates a contested case

 and Bankruptcy Rule 9014(c) permits bankruptcy courts to invoke Rule 7023 in contested cases,

 agency status is conferred on representatives retrospectively where the rule is invoked and a

 litigation class certified), and In re Vanguard Nat. Res., LLC, 17-30560, 2017 WL 5573967, at *4

 (Bankr. S.D. Tex. Nov. 20, 2017) (permitting class proof of claim even though class was not yet

 certified and characterizing position that such proofs of claim are impermissible as “in the

 minority”).

        53.     The Fifth Circuit has not adopted either view as the controlling rule; Texas

 bankruptcy courts have adopted both approaches. It is therefore uncertain whether the Trustee




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 would prevail in urging that a class proof of claim filed before a class is certified is never proper.

         54.     The Trustee also urged in his Claim Objection that Rule 7023, if a matter of

 discretion, should not be invoked because:

         a.      the Claimants did not request the Court to apply the rule;23

         b.      a litigation class was not certified prepetition; and

         c.      invoking Rule 7023 for litigation would impede the efficient administration in the

 bankruptcy because the proof of claim could not enjoy prima facie validity as presented.24

         55.     Contrary to the Trustee’s belief at the time he filed the Claim Objection, it now

 appears that former players received only eight of ten installments due in the first contract year. It

 also appears that a substantial (but unknown) number of former players may not have received

 notice of the Bankruptcy Cases at the addresses provided to the BNC Notification Center.25

 Discovery also revealed other players in communication with Schmidt or Northrup may have

 refrained from filing individual claims based on a belief that the representatives were effectively

 their spokesperson. Many such individuals engaged the proposed class counsel after the bar date.26

 Many believed that Schmidt and Northrup would advance the group’s claims and therefore avoided

 filing personal proofs of claim.

         56.     These matters appearing through Phase 1 discovery undermine some of the

 contentions fundamental to the Trustee’s procedural objections. Moreover, the Trustee is mindful

 of the reality that Rule 23 affords courts flexibility to create subclasses or certify a class only for



 23
    See Claim Objection (Docket No. 270 at 21-22).
 24
    See id. at 22-23.
 25
    The Trustee was engaged for several months in efforts to get tax reporting information to many former
 players who did not receive W2’s at the addresses used for purposes of mailing bankruptcy notices.
 26
    The Trustee is informed that a number of these former players reached out to and engaged proposed class
 counsel.


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 particular issues. Fed. R. Civ. P. 23(c) (4-5). The fact that a litigation class could not be certified

 for trial of every claim and damage does not automatically mean the Court could not certify a

 litigation class for any claim or damage.

         57.     The Trustee certainly might prevail in urging as in the Claim Objection that

 invoking Rule 7023 has little utility in the Claim litigation context, but the Court might also find

 efficient a more limited role for Rule 23, even in the litigation context.

         58.     In the context of the settlement described in this Application, the class device would

 actually aid in efficient administration because it allows for settlement of the Claim Objection by

 establishing a class claim for settlement purposes and by efficiently and fairly establishing the

 process for determining the amount and timing of distribution to Player Settlement Class members.

 The methodology used to settle the Putative Class Claim/Claim Objection approximates certain

 contractual salary claims that matured when the Trustee determined he could not assume and

 attempt to assign the Standard Player Agreements and they were deemed rejected under

 Bankruptcy Code section 365(d)(1).27

         59.     In both the Adversary and the Claim Objection, the Trustee asserted that if a class

 proof of claim can be allowed and the Court invoked Rule 7023, the Claimants’ proposed litigation

 class for the claims encompassed would not meet the Rule 23(a) and Rule 23(b)(3) requirements.

         60.     The Trustee’s Claim Objection emphasized individualized questions of proof and

 choice of law that would interfere with an efficient trial of all of the claims asserted. The Trustee

 also questioned the impracticability of joinder in the bankruptcy context and challenged Rule

 23(a)’s related commonality and typicality prerequisites.

         61.     The Claimants did not formally respond to the Claim Objection because

 27
   Such deemed rejected contracts are in law considered to give rise to a prepetition breach, and therefore a
 prepetition claim. 11 U.S.C. § 365(g)(1).


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 consideration of the Claim Objection was consolidated with the Adversary. The time has also not

 run for Claimants to file their motion to certify a litigation class. However, they will certainly point

 out that courts have held Rule 23(a)’s numerosity requirement satisfied by putative classes

 numbering fewer than the approximately 400 individuals involved here. Regarding commonality

 and typicality, the Claimants urge that all players signed the Standard Player Agreement, and the

 Phase 1 discovery appears to confirm that players received only eight of ten installments due for

 year-one base compensation before the agreements were deemed rejected under Bankruptcy Code

 section 365(d).

         62.       Based on facts revealed in Phase 1 discovery, the Trustee must acknowledge

 regarding the contract-based claims a legitimate question that at least one common question exists

 in the sense as expressed in Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350, 131 S. Ct. 2541,

 2551, 180 L. Ed. 2d 374 (2011).

         63.       Without conceding that a litigation class could be certified for all of the claims

 asserted, the Trustee has considered and acknowledges the differential risk factors regarding class

 certification for litigation of particular claims.

         (2)       Merits of Claims Against Debtors

         64.       On the merits of the claims asserted, the Trustee believes that the statutory and

 common law tort claims will be very difficult to establish against the Debtors, which the Claimants

 dispute. Although the Trustee need not take a position on the plaintiffs’ likelihood of success

 against the individual defendants, it is possible that Ebersol could assert rights under an indemnity

 agreement against the estate under some circumstances.

         65.       Regarding the contract claims, deemed rejection of the Standard Player Agreements

 equates to pre-petition breach, and it appears likely that Schmidt, Northrup, and other former




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 players would have a claim for the two unpaid year-one installments of base compensation.

 Whether the Trustee could defeat a claim for unpaid base compensation for years two and three

 turns primarily on whether the Trustee is correct in arguing that the contract years are severable

 obligations. The Plaintiffs disagree and have argued the Standard Player Agreement is not

 severable for players who were not severable under the agreement’s termination provisions.

        66.     Regardless of the Trustee’s belief in the strength of his arguments on this point, no

 question in litigation is certain. The contractual language leaves room for argument on both sides.

        67.     For the purposes of this Application, the Trustee does not consider it necessary to

 address each claim and theory jot-for-jot. The facts, their contours, and legal effect central to the

 tort and common law claims are hotly disputed and their resolution in full-blown merits litigation

 will occur only in a distant and expensive future.

 B.     Complexity and Expense of Continued Litigation

        68.     Class action litigation is infamously expensive and time consuming for all involved.

 The same is true of the Adversary. The parties have been working for two years to prepare to

 present to the Court just the procedural certification question. That is especially true in cases

 where, as here, a complex combination of common-law, statutory, and contract claims are asserted

 and differentially applicable to multiple defendants differently situated.

        69.     Full litigation of the claims and contentions will undoubtedly involve multiple

 depositions and extensive written discovery to multiple parties. Moreover, it is conceivable that

 the litigation would involve one or more appeals.

        70.     In addition, the litigation of the complicated mix of issues in this litigation diverts

 the Trustee’s resources from continuing to investigate and potentially pursue claims against certain

 officers and directors related to the AAF’s financing and against insurers. The Trustee continues




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 to investigate those matters and intends to bring suits if warranted.

 C.      Other Factors Bearing on the Wisdom of Settlement28

         71.     The settlement proposed solves many issues in the bankruptcy. It recognizes what

 discovery revealed—that only eight of ten base compensation installment were made in contract

 year one—and treats these claims according to their tenor and priority under Bankruptcy Code

 507. It addresses the fact revealed in discovery that it is unlikely that all former players received

 notice of the bankruptcy through the BNC mailing.

         72.     The settlement also acknowledges the larger risk of issue-specific certification on

 the contract issues and recognizes that deemed rejection of the contracts gives rise to a deemed

 breach and claims for rejection damages.29

         73.     Although the settlement proposed avoids the litigation of severability claims by

 allowing Player Settlement Class members a claim for the liquidated unpaid base compensation in

 contract years two and three, it also subordinates those claims to the claims of general unsecured

 claims of trade creditors. That means these “out-year” claims would only receive a distribution if

 a surplus estate occurs.

         74.     Eliminating this litigation will facilitate the Trustee’s ability to consider and if

 warranted pursue claims that could enlarge the estate to the benefit of all creditors.

         75.     As part of the settlement, the Trustee will receive an assignment of certain claims

 the Plaintiffs have asserted that the Trustee believes have been more properly revealed as estate


 28
    This Application does not address the difficulty in collecting a judgment factor because the Trustee is
 aligned effectively as a defendant. It is safe to say that if the Claimants and a putative class recovered a
 judgment just for the priority wage amounts sought, that judgment would be difficult to collect in full
 because it approximates current estate funds, which would be depleted further by the expense of litigation.
 29
    Bankruptcy Rule 3002(c)(4) provides that claims arising from executory contract rejection must be filed
 “within such time as the court may direct.” The Bankruptcy Rules therefore support allowance of the
 Putative Class Claim for settlement purposes in a manner that embeds a claim process that utilizes familiar
 bankruptcy forms and adds in the additional due process protection of class settlement procedure.


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 claims.

           76.    The settlement provides a procedure for giving notice to and receiving information

 from Player Settlement Class members that uses and is consistent with familiar bankruptcy

 processes.

           77.    The Trustee will avoid continued substantial expense of litigating claims that serve

 only to drain estate funds. This includes the continuing expense of litigating the class certification

 issues.

           78.    It is the sound business judgment of the Chapter 7 Trustee, after thorough

 consideration of the aforementioned factors that the proposed settlement is in the best interest of

 the Chapter 7 Estate. The Trustee submits that the terms of the proposed settlement within the

 reasonable range of litigation possibilities as set forth in TMT Trailer Ferry, Inc., supra.

 D.        Certifying the Player Settlement Class is Appropriate.

           79.    The Trustee continues to believe and assert that a litigation class based on the

 claims and theories the Claimants/Adversary Plaintiffs assert would be unmanageable and

 improper.

           80.    However, certifying a settlement class is a different proposition. Predominance,

 superiority, and manageability through trial play a much more muted role in the settlement class

 context because the very proposition of settlement is that there will not be a trial. Circumstances

 affecting these factors, therefore, do not impose the same difficulties as would occur in litigating

 a case to judgment. Amchem Products, Inc. v. Windsor, 521 U.S. 591, 620, 117 S. Ct. 2231, 2248,

 138 L. Ed. 2d 689 (1997).

           81.    The Player Settlement Class proposed in this Application focuses on the Standard

 Player Agreement, and the consideration paid is to recognize claims for amounts cognizable as




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 contract damages for unpaid base compensation in the order of priority the Bankruptcy Code

 establishes.30 The claims allowed in this sense under the settlement are liquidated. The Claimants

 shall be deemed to have assigned all of their other claims against the Debtors’ estate, the Debtors,

 and Ebersol to the Debtors’ estate so that the Trustee may determine how to resolve them. By

 addressing the settlement to a particular category of easily determinable contract damages and

 effectively disposing all other claims and theories against the Debtors’ estate, the settlement causes

 common questions to predominate.

         82.     Administering the settlement by allowing the Putative Class Claim with a process

 that embeds familiar bankruptcy forms and timelines approximates the court setting a specific bar

 date for rejection damages claims, something Bankruptcy Rule 3002(c)(4) specifically authorizes.

 Manageability will not be made difficult to any extent greater than in any other bankruptcy case.

 Moreover, because the Trustee has over the past two years spent significant time locating current

 information for former players to facilitate distribution of tax information, individual notice to all

 former players will be facilitated.

         83.     The Player Settlement Class must still satisfy Rule 23(a)’s requirements of

 numerosity, typicality, commonality and adequacy. Here, the former players are identifiable and

 have been identified to include more than 400 specific individuals. By addressing the settlement

 to contractual matters on which discovery revealed there is an appropriate level of uniformity of

 interest and facts, the Player Settlement Class proposed meets the commonality and typicality

 requisites.

         84.     Neither the Trustee nor anyone else has suggested that Claimants and their counsel

 are inadequate representatives. The focus of the settlement on the contractual claims effectively

 30
    The settlement does subordinate excess contract damages for years two and three to other creditors who
 filed proofs of claim.


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 addresses and eliminates any unidentified potential conflicts of interest. And the opt-out right

 provided under Rule 23(b)(3) affords further protection for any putative class member who does

 not wish to participate.

                                     RELIEF REQUESTED

        In accordance with this Application, the Trustee seeks entry of an order authorizing the

 Trustee to enter into the settlement agreement and for such other and further relief to which the

 parties show themselves justly entitled.

                                                 Respectfully submitted,

                                                 BARRETT DAFFIN FRAPPIER
                                                 TURNER & ENGEL, LLP

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                                   CERTIFICATE OF SERVICE

           By my signature below, I hereby certify that on the 24th day of August, 2021, a true and

 correct copy of the foregoing document was served via electronic means as listed on the Court’s

 ECF noticing system and by electronic or first class mail to those persons on the attached mailing

 matrix.


                                                   /s/ Brian S. Engel
                                                   Brian S. Engel




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